                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION
                        DOCKET NO. 1:15-cr-00097-MOC-DLH


 UNITED STATES OF AMERICA,                )
                                          )
                                          )
 v.                                       )                   ORDER
                                          )
 KEVIN WAYNE VANOVER                      )
 MEREDITH ANN YATES,                      )

                Defendants                )
                                          )
 v.

 BETTY LOU WEBB

                Petitioner



         THIS MATTER is before the court on defendant Yates’ Motion to Continue

Sentencing (#124). Having considered defendant’s motion and reviewed the pleadings, the

court enters the following Order.

                                       ORDER

         IT IS, THEREFORE, ORDERED that defendant Yates’ Motion to Continue

(#124) is GRANTED, this matter is continued to the next appropriate sentencing term.

         IT IS FURTHER ORDERED that as to the other remaining defendant that the

court’s own Motion to Continue is GRANTED, for the reason that these defendants should

be sentenced together.

         IT IS FURTHER ORDERED that as to the forfeiture hearing the court’s own


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              Motion to Continue is GRANTED. That hearing is to occur alongside the sentencings of

              the above-captioned defendants.


Signed: November 4, 2016




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